        Case 21-52551-sms                         Doc 17         Filed 05/03/21 Entered 05/04/21 11:34:36                                Desc Main
                                                                Document      Page 1 of 50
                                                                                                          Filed in U.S. Bankruptcy
                                                                                                                                       Court
                                                                                                                 Atl Anta,, ,GVPIVia
   Fill in this information to identify your case:                                                          1W. Regina Thmi)as,
                                                                                                                                   ( let*

   Debtor 1              Lenora                                             Hartsfield                              Y - 3 2021
                         First Name              Middle Name              Last Name

   Debtor 2
   (Spouse, if filing)   First Name              Middle Name              Lest Name


   United States Bankruptcy Court for the: Northern District of Georgia                                                     Clerk

   Case number           21-52551-sms
   (If known)                                                                                                                           U Check if this is an
                                                                                                                                          amended filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                         04/19
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        e    Married
        U Not married


    , During the last 3 years, have you lived anywhere other than where you live now?

       Er No
        U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                          Dates Debtor 1     Debtor 2:                                                 Dates Debtor 2
                                                                   lived there                                                                  lived there


                                                                                      U Same as Debtor 1                                       U   Same as Debtor 1

                                                                   From                                                                            From
                 Number               Street                                             Number Street
                                                                   To                                                                              To



                 City                          State ZIP Code                            City                       State ZIP Code

                                                                                      U Same as Debtor 1                                       U Same as Debtor 1

                                                                   From                                                                            From
                 Number               Street                                             Number Street
                                                                   To                                                                              To



                 City                          State ZIP Code                            City                       State    ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, tdaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        Er No
        U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1061-1).



   Part 2: Explain the Sources of Your Income

Official Form 107                                 Statement of Financial Affairs for individuals Filing for Bankruptcy                               page 1
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Debtor 1      Lenora                                                       Hartsfield                   Case number (11known) 21-52551-sms
                First Name      Middle Name          Last Name




 4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

           No
           Yes. Fill in the details.



                                                            Sources of Income           Gross income             Sources of Income           Gross Income
                                                            Check all that apply,       (before deductions and   Check all that apply.       (before deductions and
                                                                                        exclusions)                                          exclusions)

            From January 1 of current year until                 Wages, commissions,
                                                                                                      668.75      U Wages, commissions,
                                                                 bonuses, tips                                     bonuses, tips
            the date you flied for bankruptcy:
                                                                 Operating a business                            O Operating a business

                                                                 Wages, commissions,                             O Wages, commissions,
            For last calendar year:
                                                                 bonuses, tips                                     bonuses, tips
            (January 1 to December 31,                  )        Operating a business                            O Operating a business
                                              YYYY



                                                                 Wages, commissions,                             O Wages, commissions,
            For the calendar year before that:
                                                                 bonuses, tips                                     bonuses, tips
            (January Ito December 31,                   )   0    Operating a business                            O Operating a business
                                              YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed In line 4.

      ' No
     CI Yes. Fill in the details.

                                                            Sources of income           Gross Income from         Sources of Income          Gross Income from
                                                            Describe below.             each source               Describe below.            each source
                                                                                        (before deductions and                               (before deductions end
                                                                                        exclusions)                                          exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:
             (January 1 to December 31,
                                              YYYY




             For the calendar year before that:
             (January 1 to December 31,
                                              YYYY




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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Debtor 1      Lenora                                                         Hartsfield                 Case number (If known)   21-52551-sms
               First Name        Middle Name               Last Name




pm            List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined In 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               U No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     U Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               U No. Go to line 7.

               CI   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                            Dates of      Total amount paid         Amount you still owe        Was this payment for..
                                                                            payment


                                                                                                                                                U Mortgage
                       creditor's Name
                                                                                                                                                U Car

                       Number    Street                                                                                                         D Credit card
                                                                                                                                                CI Loan repayment
                                                                                                                                                0 Suppliers or vendors
                       City                    State            ZIP Code                                                                        LI Other


                                                                                                                                                0 Mortgage
                       Creditor's Name
                                                                                                                                                D Car
                       Number    Street
                                                                                                                                                0 Credit card
                                                                                                                                                0 Loan repayment
                                                                                                                                                0 Suppliers or vendors
                       City                    State            ZIP Code
                                                                                                                                                O Other


                                                                                                                                                U Mortgage
                       Creditor's Name
                                                                                                                                                U Car

                       Number    Street
                                                                                                                                                0 Credit card
                                                                                                                                                0 Loan repayment
                                                                                                                                                ID Suppliers or vendors
                                                                                                                                                   Other
                       City                    State            ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
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Debtori       Lenora                                                        Hartsfield                  Case number (If known) 21-52551-sms
                    First Name      Middle Name           Lest Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

          No
          Yes, List all payments to an insider.
                                                                          Dates of       Total amount      Amount you still   Reason for this payment
                                                                          payment        paid              owe


            Insider's Name



           Number          Street




            City                                  State   ZIP Code




            Insider's Name


            Number         Street




            City                                  State   ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     Er No
     ID Yes. List all payments that benefited an insider.
                                                                          Dates of       Total amount      Amount you still Reason for this payment
                                                                          payment        paid              owe              Include creditor's name_


            Insider's Name



            Number         Street




            City                                  Slate   ZIP Code




            Insider's Name



            Number         Street




            CI,ty                                 State   ZIP Code




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Debtor 1       Lenora                                                         Hartsfield                  Case number (r known)    21-52551-sms
                First Name         Middle Name           Last Name




Mg             Identify Legal Actions, Repossessions, and Foreclosures

; 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     d No
     CI    Yes. Fill in the details.
                                                                Nature of the case                  Court or agency                                 Status of the case


            Case title                                                                                                                              O Pending
                                                                                                   Court Name
                                                                                                                                                    •    On appeal
                                                                                                   Number     Street                                D    Concluded

            Case number
                                                                                                   City                    State     ZIP Code
                                                                                                                                      ,



            Case title                                                                                                                              U Pending
                                                                                                   Court Name
                                                                                                                                                    O On appeal
                                                                                                   Number     Street                                LI   Concluded

            Case number
                                                                                                   City                    State     ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11.
     El    Yes. Fill in the information below.

                                                                          Describe the property                                                   Value of the property



                 Creditor's Name



                 Number      Street                                       Explain what happened

                                                                          CI   Property was repossessed.
                                                                          0    Property was foreclosed.
                                                                          O    Property was garnished.
                 City                            State
                                                 _
                                                         ZIP Code         0    Property was attached, seized, or levied.

                                                                          Describe the property                                       Date         Value of the propert)




                 Creditor's Name      ,



                 Number      Street
                                                                          Explain what happened

                                                                           0   Property was repossessed.
                                                                          O    Property was foreclosed.

                 City                            State   ZIP Code
                                                                          CI   Property was garnished.
                                                                          O    Property was attached, seized, or levied.



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Debtor 1          Lenora                                                     Hartsfield                  Case number (ffkn0wn1 21-52551-sms
                  Fast Name      Middle Name             Last Name




 11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

     El No
     U     Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           Creditor's Name



           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: X)(XX—


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?

     id No
     U     Yes


  Part 5:         List Certain Gifts and Contributions


  13.14/Rhin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     El No
     U     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts




           Person to Whom You Gave the Gift




           Number     Street



           City                           Slate   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1          Lenora                                                      Hartsfield                     Case number (I   known)21-52551-sms
                    First Name      Middle Name          Lest Name




 14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ki No
           Yes. Fill in the details for each gift or contribution.


            Gifts or contributions to charities                 Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                 contributed




           Charity's Name




           Number        Street



           City            State      ZIP Code




                     List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     MNo
     CI Yes. Fill in the details.


             Describe the property you lost and                  Describe any insurance coverage for the loss                                           Value of property
             how the loss occurred                                                                                                                      lost
                                                                 Include the amount that Insurance has paid. List pending insurance
                                                                 Claims on line 33 of Schedule A/B: Property.




=a                       -
                  List Certain Payments or Transfers

  16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

   . Gif No
      U    Yes. Fill in the details.

                                                                 Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                      transfer was
             Person Who Was Paid                                                                                                      made


             Number        Street




             City                        State    ZIP Code


             Email or websIte address

             Person Who Made the Payment, if Not You


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Debtor 1         Lenora                                                           Hartsfield                  Case number (if known)   21-52551-sms
                    First Name      Middle Name              Last Name




                                                                     Description and value of any property transferred                  Date payment or      Amount of
                                                                                                                                        transfer was made    payment


             Person Who Was Paid


             Number       Street




             City                        State    ZIP Code




             Email or webslte address


             Person Who Made the payment, If Not You


 17. Within 1 year before you flied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     DO not include any payment or transfer that you listed on line 16.

            No
        Ei Yes. Fill in the details.
                                                                     Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
             Person Who Was Paid


             Number        Street




             City                        State    ZIP Code

  18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
        Er No
        C3 Yes. Fill in the details.
                                                                     Description and value of property        Describe any property or payments received       Date transfer
                                                                     transferred                              or debts paid In exchange                        was made

             Person Who Received Transfer


             Number        Street




             City                        State    ZIP Code


             Person's relationship to you



             Person Who Received Transfer


             Number        Street




             City                        State    ZIP Code

             Person's relationship to you

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Debtor 1      Lenora                                                         Hartsfield                 Case number (if known)21-52551-sms
                   Fleet Name    Middle Name          Leal Name




 19, Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     id No
     U Yes. Fill In the details.

                                                              Description and value of the property transferred                                       Date transfer
                                                                                                                                                      was made


           Name of trust




 Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

 20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
    brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     El No
     U Yes. Fill In the details.

                                                              Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                  instrument                closed, sold, moved,   closing or transfer
                                                                                                                            or transferred

            Name of Financial Institution
                                                                                                  LI Checking

            Number Street                                                                         U Savings
                                                                                                  U Money market
                                                                                                  U   Brokerage
            City                       State   ZIP Code                                           U Other


                                                                                                  U Checking
            Name of Financial Institution
                                                                                                  U Savings

            Number Street                                                                         U Money market
                                                                                                  U Brokerage
                                                                                                   U Other
            City                       State   ZIP Code

  21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     if No
     U Yes. Fill in the details.
                                                                  Who else had access to                      Describe the contents                       Do you still
                                                                                                                                                          have It?

                                                                                                                                                          13 No
            Name of Financial Institution                                                                                                                 U Yes
                                                              Name

            Number Street                                     Number Street


                                                              City         State     ZIP Code
            City                       State   ZIP Code


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 9
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Debtor 1          Lenora                                                              Hartsfield                        Case number (If known) 21-52551-sms
                   First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     tEl No
     U Yes. Fill In the details.
                                                                    Who else has or had access to It?                        Describe the contents                   Do you still
                                                                                                                                                                     have It?

                                                                                                                                                                      U No
            Name of Storage Facility                                Name
                                                                                                                                                                      U Yes

            Number       Street                                     Number    Street


                                                                    City State ZIP Code

            City                        State     ZIP Code


 Part 9:             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     Id No
     U Yes. Fill in the details.
                                                                    Where Is the property?                                   Describe the property                Value


            Owner's Name

                                                                  Number     Street
            Number        Street



                                                                  City                             State     ZIP Code
            City                        State     ZIP Code

 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •   She means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24 Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     El No
     U Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it               Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                   State   ZIP Code



           City                        State     ZIP Code



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Debtor 1      Lenora                                                             Hartsfield                          Case number (1/kn0w5)21-52551-sms
                   First Name      Middle Name          Last Name




 25.Have you notified any governmental unit of any release of hazardous material?

     51 No
     U Yes. Fill in the details.
                                                               Governmental unit                                 Environmental law, if you know it                    Date of notice




            Name of site                                      Governmental unit


            Number        Street                              Number Street



                                                              City                    State    ZIP Code

            City                        state    ZIP Code


 26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     lid No
     El Yes. Fill In the details.
                                                                                                                                                                       Status of the
                                                                    Court or agency                                   Nature of the case
                                                                                                                                                                       case

           Case title
                                                                                                                                                                       U   Pending
                                                                    Court Name
                                                                                                                                                                       U   On appeal

                                                                    Number   Street                                                                                    U   Concluded


           Case number                                              City                      State   ZIP Code


  Part 11:           Give Details About Your Business or Connections to Any Business
  27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        El A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        El A member of a limited liability company (LLC) or limited liability partnership (LLP)
        El A partner in a partnership
        El An officer, director, or managing executive of a corporation
           El An owner of at least 5% of the voting or equity securities of a corporation

     Et No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                              Employer Identification number
                                                                                                                                     Do not Include Social Security number or ITIN.
            Business Name

                                                                                                                                     EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                     From                To
            City                        State    ZIP Code
                                                                    Describe the nature of the business                              Employer Identification number
                                                                                                                                     Do not include Social Security number or ITIN.
            Business Name



            Number        Street
                                                                    Name of accountant or bookkeeper




            City                         State   ZIP Code

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Debtor 1        Lenora                                                            Hartsfield                 Case number (if known) 21-52551-sms
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            Business Name

                                                                                                                            EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed



                                                                                                                            From                   To
            City                        State    ZIP Code




  26, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      Institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                                    Date Issued



            Name                                                    MM / DD /YYYY



            Number       Street




            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           Signature of Debtor 1                                                     Signature of Debtor 2


           Date        037                  zcn=                                     Date
      Did       u attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    it..    NO
      U     Yes


             ou pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      U Yes. Name of person                                                                                       . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                    Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1              Lenorah                                              Hartsfield
                      First Name                 Middle Name               Lest Name

Debtor 2
(Spouse, if filing)   First Name                 Middle Name               Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number           21-52551-sms
                                                                                                                                            0 Check if this is an
                                                                                                                                                amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    El No. Go to Part 2.
    0 Yes. Where is the property?
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    •     Single-family home                          the amount of any secured claims on Schedule D:
      1.1.                                                                                                            Creditors Who Have Claims Secured by Properly.
                                                                    El Duplex or multi-unit building
              Street address, if available, or other description
                                                                    O Condominium or cooperative                      Current value of the      Current value of the
                                                                    O Manufactured or mobile home                     entire property?          portion you own?
                                                                    O Land
                                                                    O Investment property
                                                                    O Timeshare                                       Describe the nature of your ownership
              City                            State     ZIP Code                                                      interest (such as fee simple, tenancy by -
                                                                    O     Other
                                                                                                                      the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    0 Debtor 1 only
              County                                                0 Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                          Check if this is community property
                                                                                                                          (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.
                                                                                                                      Do not deduct secured claims or exemptions. Put   ,
                                                                   O    Single-family home                            the amount of any secured claims on Schedule D:
      1.2.                                                                                                            Creditors Who Have Claims Secured by Property.
                                                                   O Duplex or multi-unit building
              Street address, if available, or other description
                                                                   O Condominium or cooperative                       Current value of the     Current value of the
                                                                   O Manufactured or mobile home                      entire property?         portion you own?
                                                                   O Land
                                                                   O    Investment property
                                                                   O    Timeshare
                                                                                                                      Describe the nature of your ownership
              City                            State     ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                   CI   Other                                         the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   0 Debtor 1 only
              County                                                    Debtor 2 only
                                                                   0 Debtor 1 and Debtor 2 only                       0   Check If this is community property
                                                                   0 At least one of the debtors and another              (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


Official Form 106A/8                                                Schedule A/B: Property                                                             page 1
        Case 21-52551-sms                            Doc 17            Filed 05/03/21 Entered 05/04/21 11:34:36                                            Desc Main
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  Debtor 1      Lenorah                                                       Hartsfield                     Case number (if known)   21-52551-sms
                    First Name     Middle Name            Last Name




                                                                      What is the property? Check all that apply.                Do not deduct secured claims or exemptions. Put
                                                                      O    Single-family home                                    the amount of any secured claims on Schedule D:
      1.3.                                                                                                                       Creditors Who Have Claims Secured by Property.
             Street address, If available, or other description       0    Duplex or multi-unit building
                                                                      CI   Condominium or cooperative                            Current value of the      Current value of the
                                                                                                                                 entire property?          portion you own? ;
                                                                      U    Manufactured or mobile home
                                                                      O Land
                                                                      CI   Investment property
                                             State     ZIP Code       0                                                          Describe the nature of your ownership
             City                                                          Timeshare
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                      O    Other                                                 the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      0    Debtor 1 only
             County
                                                                      0    Debtor 2 only
                                                                      0    Debtor 1 and Debtor 2 only                            U Check if this is community property
                                                                                                                                      (see instructions)
                                                                      0    At least one of the debtors and another

                                                                      Other information you wish to add about this item, such as local
                                                                      property Identification number:


 2. Add the dollar value of the portion you own for all of your entries from Part 1, Including any entries for pages
    you have attached for Part 1. Write that number here.                                                                                           4




 Part 2:       Describe Your Vehicles



' Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
  you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     U No
       ' Yes

     3.1.    Make:                        BMW                         Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
             Model:                       428i                        kl Debtor 1 only                                           Creditors Who Have Claims Secured by Property.    ,
                                          2015                        CI Debtor 2 only
             Year:                                                                                                               Current value of the       Current value of the ;
                                                                      0 Debtor 1 and Debtor 2 only
                                          64,000                                                                                 entire property?           portion you own? :
             Approximate mileage:                                     0 At least one of the debtors and another
             Other information:
                                                                                                                                           30,000.00        $               0.00
                                                                      U Check if this is community property (see
                                                                           instructions)



     If you own or have more than one, describe here:

     3.2.    Make:                        Acura                       Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
             Model:                       TL                          IE1 Debtor 1 only                                          Creditors Who Have Claims Secured by Properfy.
                                          2015                        0 Debtor 2 only
             Year:                                                                                                               Current value of the       Current value of the
                                                                      U Debtor 1 and Debtor 2 only                               entire property?           portion you own?
             Approximate mileage: 63000                               0 At least one of the debtors and another
             Other information:                                                                                                            25,000.00                        0.00
                                                                       0   Check if this is community property (see
                                                                           instructions)




  Official Form 106A/B                                                 Schedule A/13: Property                                                                     page 2
       Case 21-52551-sms                      Doc 17           Filed 05/03/21 Entered 05/04/21 11:34:36                                       Desc Main
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Debtor 1      Lenorah                                               Hartsfield                     Case number (if known)   21-52551-sms
               First Name       Middle Name       Last Name




   3.3,    Make:                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put   ;
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                             0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              0 Check if this is community property (see
                                                                 instructions)


   3.4.    Make:                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                             0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                              CI Debtor 2 only
           Year                                                                                                        Current value of the      Current value of the
                                                              LI Debtor 1 and Debtor 2 only
                                                                                                                       entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   la No
   1:1 Yes


                                                              Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    4.1.   Make:
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:
                                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:
                                                              0 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
           Other information:                                 0 At least one of the debtors and another                entire property?          portion you own?


                                                              CI Check if this is community property (see
                                                                 instructions)



   If you own or have more than one, list here:

           Make:                                              Who has an Interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:
                                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the ,
                                                              0 Debtor 1 and Debtor 2 only                             entire property?          portion you own? ,
           Other information:                                 0 At least one of the debtors and another

                                                               0 Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                               0.00
   you have attached for Part 2. Write that number here




 Official Form 106NB                                           Schedule NB: Property                                                                     page 3
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 Fill in this information to identify your case:

 Debtor 1              Lenora                                     Hartsfield
                       First Name           Middle Name                 Last Name

 Debtor 2
 (Spouse, If filing)   First Name           Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number           21-52551-sms                                                                                                         0 Check if this is an
  (If known)
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Er You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      CI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the          Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from           Check only one box for each exemption.
                                                          Schedule NB

      Brief                                                                                                                      11 U.S.C. paragraph 522 (b)
      description:
                                11                        $50.00                         Us 50.00
                                                                                                                                 (3)
      Line from                                                                              100% of fair market value, up to
      Schedule A/B:                                                                          any applicable statutory limit


      Brief
      description:                                                                           $

      Line from                                                                          0   100% of fair market value, up to
      Schedule A/B:                                                                          any applicable statutory limit

      Brief
      description:                                                                           $

      Line from                                                                          0   100% of fair market value, up to
      Schedule A/B:                                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      Er No
      0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           0       No
                   Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                               page 1 of
      Case 21-52551-sms                   Doc 17            Filed 05/03/21 Entered 05/04/21 11:34:36                                    Desc Main
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Debtor 1      Lenora                                           Hartsfield                     Case number (If known)   21-52551-sms
              First Name    Middle Name        Last Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
     description:                                                             0$
     Line from
                                                                              0 100% affair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit

     Brief
     description:                                                             Us

     Line from
                                                                              1:1 100% of fair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                             Ds
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit


     Brief
     description:                                                             Us

     Line from
                                                                              0 100% of fair market value, up to
                                                                                any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                          $                  0$
     Line from
                                                                              0 100% affair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                             0$
     Line from
                                                                              0 100% of fair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                             0$
     Line from
                                                                              0 100% of fair market value, up to
                                                                                   any applicable statutory limit
     Schedule NB:
     Brief
     description:                                                             0$
     Line from
                                                                              0 100% of fair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                             0$
     Line from
                                                                              0 100% affair market value, up to
                                                                                   any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                              0$
      Line from
                                                                               0 100% affair market value, up to
                                                                                   any applicable statutory limit
      Schedule A/B•.
      Brief
      description:                                                            Us

      Line from
                                                                               0   100% of fair market value, up to
                                                                                   any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                            Us
      Line from
                                                                              0 100% affair market value, up to
                                                                                   any applicable statutory limit
      Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                           page 2    of_
          Case 21-52551-sms                             Doc 17        Filed 05/03/21 Entered 05/04/21 11:34:36                               Desc Main
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Fill in this information to identify your case:


Debtor 1            Lenora                                                    Hartsfield
                     First Name                   Middle Name                   Last Name

Debtor 2
(Spouse, If filing) First Name                    Middle Name                   Last Name

United States Bankruptcy Court for the: Northern District of Georgia

Case number          21-52551-sms
(If known)                                                                                                                                 U Check if this is an
                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
   0 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      0      Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                         COlumn A                   Column B                Column C
3. List all secured claims. If a creditor has more than one secured claim, list the creditor separate Y Amount of claim             Value of collateral     Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the          that supports this      portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of cellateral.       claim '             '   If any

2.1
                                                            Describe the property that secures the claim:                  25,000.00 $    20,000.00 $                0.00
      Capitol One Bank USA
      Creditor's Name
                                                           Acura TL
      PO Box 30281
      Number            Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            Er   Contingent
      Salt Lake City                 UT 84130               •    Unliquidated
      City                          State    ZIP Code       O    Disputed

  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  Er Debtor 1 only                                          Er An agreement you made (such as mortgage or secured
  O Debtor 2 only                                              car loan)
  O       Debtor 1 and Debtor 2 only                        O    Statutory lien (such as tax lien, mechanic's lien)
  O       At least one of the debtors and another           O    Judgment lien from a lawsuit
                                                            O    Other (Including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred                                    Last 4 digits of account number
2.2                                                         Describe the property that secures the claim:                  30,000.00 $    20,000.00 $                0.00
      ESL FCU
      Creditor's Name
                                                           2015 BMW
      100 Kings Highway
      Number            Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            if   Contingent
      Rochester                      NY                     •    Unliquidated
      City                           State   ZIP Code       O    Disputed

  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  Er Debtor 1 only                                          Er An agreement you made (such as mortgage or secured
  O Debtor 2 only                                              car loan)
  U Debtor 1 and Debtor 2 only                              O Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another                 ▪    Judgment lien from a lawsuit
                                                            O    Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred                                    Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here.


 Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of
        Case 21-52551-sms                            Doc 17         Filed 05/03/21 Entered 05/04/21 11:34:36                                                    Desc Main
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Debtor 1        Lenora                                                   Hartsfield                              Case number (If known)     21-52551-sms
                  FIrst Name    Middle Name            Lest Name


              Additional Page                                                                                              ,
                                                                                                                               Column A _              Column
                                                                                                                                                            .   p,          •   Column C
                                                                                                                           r   Amount of claim         Value of collateral r Unsecured
                                                                                                                                                                                    ,
              After listing any entries on this page, number them beginning with 2.3, followed                                                         that Supports this • portion
                                                                                                                               Do,not deduct the
              by 2.4, and so forth.                                                                                            valije of collateral.   claim..  _        , If any
                                                       Describe the property that secures the claim:
     Creditors Name


     Number            Street


                                                       As of the date you file, the claim is: Check all that apply.
                                                       O    Contingent
     City                        State    ZIP Code     •    Unliquidated
                                                       O Disputed
 Who owes the debt? Check one.                         Nature of lien. Check all that apply.
 O     Debtor 1 only                                   O    An agreement you made (such as mortgage or secured
 CI    Debtor 2 only                                        car loan)
 O     Debtor 1 and Debtor 2 only                      O Statutory lien (such as tax lien, mechanic's lien)
 O     At least one of the debtors and another         O    Judgment lien from a lawsuit
                                                       O    Other (including a right to offset)
 •     Check if this claim relates to a
       community debt

 Date debt was incurred                                Last 4 digits of account number

                                                       Describe the property that secures the claim:
     Creditor's Name


     Number            Street
                                                       As of the date you file, the claim Is: Check all that apply.
                                                       O    Contingent
                                                       •    Unliquidated
     City                        State    ZIP Code     O    Disputed
 Who owes the debt? Check one.
                                                       Nature of lien. Check all that apply.
 O Debtor 1 only
                                                       O    An agreement you made (such as mortgage or secured
 O     Debtor 2 only                                        car loan)
 O     Debtor 1 and Debtor 2 only                      O    Statutory lien (such as tax lien, mechanic's lien)
 O     At least one of the debtors and another         O    Judgment lien from a lawsuit
                                                       O    Other (including a right to offset)
 CI    Check if this claim relates to a
       community debt

 Date debt was incurred                                Last 4 digits of account number


                                                       Describe the property that secures the claim:
     Creditors Name


     Number            Street


                                                       As of the date you file, the claim is: Check all that apply.
                                                       O    Contingent
     City                        State    ZIP Code     •    Unliquidated
                                                       O    Disputed
 Who owes the debt? Check one.                         Nature of lien. Check all that apply.
 O     Debtor 1 only                                   O    An agreement you made (such as mortgage or secured
 O Debtor 2 only                                            car loan)
 O     Debtor 1 and Debtor 2 only                      O    Statutory lien (such as tax lien, mechanic's lien)
 O At least one of the debtors and another             O    Judgment lien from a lawsuit
                                                       O    Other (including a right to offset)
 O Check if this claim relates to a
   community debt
 Date debt was incurred                                Last 4 digits of account number

            Add the dollar value of your entries In Column A on this page. Write that number here:
            If this is the last page of your form, add the dollar value totals from all pages.
            Write that rtumber here:

Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page        of
           Case 21-52551-sms                       Doc 17        Filed 05/03/21 Entered 05/04/21 11:34:36                                             Desc Main
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  Fill in this information to identify your case:


  Debtor 1             Lenora                                              Hartsfuiekd
                        First Name               Middle Name               Last Name
  Debtor 2
  (Spouse, if filing) First Name                 Middle Name               Last Name

  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                         El                                                         U Check if this is an
  Case number           21-52551-sms
  (If known)                                                                                                                                          amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                      List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
      U       No. Go to Part 2.
      U       Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total claim   Priority     NonpriorIty
                                                                                                                                                   amount       amount
2.1
          Internal Revenue Service                                Last 4 digits of account number       2    5    8      6    $         2,000.00 $ 2,000.00 $          0.00
       Priority Creditor's Name
          Stop 6525 (SP CIS)                                      When was the debt incurred?          01/20/2000
          Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.
          Kansas City                     MO 64999                O Contingent
          City                          State     ZIP Code
                                                                  •    unirquidated
          Who incurred the debt? Check one.                       O Disputed
          0 Debtor 1 only
          O Debtor 2 only                                         Type of PRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                            O Domestic support obligations
          0 At least one of the debtors and another
                                                                  El   Taxes and certain other debts you owe the government
          O Check if this claim is for a community debt           O Claims for death or personal injury while you were
          Is the claim subject to offset?                           Intoxicated
          0      No                                               O Other. Specify
          0 Yes

                                                                  Last 4 digits of account number                                $
       Priority Creditor's Name
                                                                  When was the debt incurred?
          Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  O Contingent
          City                          State     ZIP Code        •    Unliquidated
          Who incurred the debt? Check one.                       O Disputed
          O Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
          U Debtor 2 only
                                                                  El Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                  O Taxes and certain other debts you owe the government
          GI At least one of the debtors and another
                                                                  O Claims for death or personal injury while you were
          U Check if this claim is for a community debt             intoxicated
          Is the claim subject to offset?                         O Other. Specify
          U No
          0 Yes


 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of
       Case 21-52551-sms                         Doc 17            Filed 05/03/21 Entered 05/04/21 11:34:36                                       Desc Main
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Debtor .]        Lenora                                                   Hartsfuiekd                      Case number grkeeme21-52551-sms
                  First Name      Middle Name         Lest Name

 Part 1:         Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority   Nonprlority
                                                                                                                                                amount     amount


                                                                   Last 4 digits of account number
      Priority Creditor's Name
                                                                   When was the debt incurred?
      Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   O   Contingent
      City                              State    ZIP Code          •   Unliquidated
                                                                   LI Disputed
      Who incurred the debt? Check one.
       O Debtor 1 only                                             Type of PRIORITY unsecured claim:
       O Debtor 2 only
                                                                   •   Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                   O   Taxes and certain other debts you owe the government
       0 At least one of the debtors and another
                                                                   O   Claims for death or personal Injury while you were
                                                                       Intoxicated
       O Check If this claim is for a community debt
                                                                   O   Other. Specify

      Is the claim subject to offset?
       U No
       0 Yes


                                                                   Last 4 digits of account number
      Priority Creditors Name
                                                                   When was the debt incurred?
      Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   O   Contingent
       City                              State   ZIP Code          •   Unliquidated
                                                                   O   Disputed
       Who incurred the debt? Check one.
       LI Debtor 1 only                                            Type of PRIORITY unsecured claim:
       O Debtor 2 only
                                                                   O   Domestic support obligations
       El Debtor 1 and Debtor 2 only
                                                                   O   Taxes and certain other debts you owe the government
       0 At least one of the debtors and another
                                                                   ID Claims for death or personal injury while you were
                                                                       Intoxicated
       LI Check if this claim Is for a community debt
                                                                   O   Other. Specify

       Is the claim subject to offset?
       U No
       O Yes


                                                                   Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
       Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   LI Contingent
       City                              State   ZIP Code          •   Unliquidated
                                                                   O   Disputed
       Who incurred the debt? Check one.
       U Debtor 1 only                                             Type of PRIORITY unsecured claim:
       O Debtor 2 only
                                                                   Cl Domestic support obligations
       O Debtor 1 and Debtor 2 only
                                                                   O   Taxes and certain other debts you owe the government
       0 At least one of the debtors and another
                                                                   O   Claims for death or personal injury while you were
                                                                       intoxicated
       •      Check if this claim is for a community debt
                                                                   O   Other. Specify

       Is the claim subject to offset?
       LI No
       0 Yes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page    of
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Debtor 1         Lenora                                                         Hartsfuiekd                Case number (if known)   21-52551-sms
                  First Name        Middle Name          Last Name


                List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    13 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    2 Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For eaCh claim listed, identify what type of claim it is. Do not list claims already
    included in Part I. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total ciaim

      Monroe County Sheriff Civil Bureau                                                Last 4 digits of account number 2           5    8    6
                                                                                                                                                                      5,000.00
      Nonpriority Creditors Name
                                                                                        When was the debt incurred?          01/20/2008
      130 South Pymouth Avenue 5th Floor
      Number            Street

      Rochester                                        NY            14614
      City                                             State         ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                        •  Contingent
      Who incurred the debt? Check one.                                                    Unliquidated
      •      Debtor 1 only                                                              El Disputed
      D Debtor 2 only
      U Debtor 1 and Debtor 2 only                                                      Type of NONPRIORITY unsecured claim:
      U At least one of the debtors and another                                         U Student loans
      ID Check if this claim is for a community debt                                    U Obligations arising out of a separation agreement or divorce
                                                                                          that you did not report as priority claims
      Is the claim subject to offset?                                                   U Debts to pension or profit-sharing plans, and other similar debts
      LI No                                                                             • Other. Specify unsecured debt
      U Yes

                                                                                        Last 4 digits of account number        0     0    0    0                      3,000.00
      Fairways Townhomes LLC
      Nonpriority Creditors Name                                                        When was the debt incurred?          01/20/2008
      do Andrew D. Dick, Esq. 301 Exchange Boulevard
      Number            Street
      Rochester                                        NY                               As of the date you file, the claim is: Check all that apply.
      City                                             State         ZIP Code
                                                                                        IJContingent
      ,Who incurred the debt? Check one.                                                • Unliquidated
                                                                                        U Disputed
      El     Debtor 1 only
      U      Debtor 2 only
                                                                                        Type of NONPRIORITY unsecured claim:
      U      Debtor 1 and Debtor 2 only
      U      At least one of the debtors and another                                    U Student loans
                                                                                        ▪ Obligations arising out of a separation agreement or divorce
      ▪      Check if this claim Is for a community debt                                   that you did not report as priority claims
      Is the claim subject to offset?                                                   El Debts to pension or profit-sharing plans, and other similar debts
      El No                                                                                Other. Specify unsecured debt
      U Yes

      Continental Financial Company                                                     Last 4 digits of account number         0    0    0    0                      3,000.00
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
      4550 New Linden Hill Road
      Number            Street
      Wilmington                                       DE             19808
                                                                                        As of the date you file, the claim Is: Check all that apply.
      City                                             State         ZIP Code

                                                                                        RIContingent
      Who incurred the debt? Check one.
                                                                                        • Unliquidated
      Er Debtor 1 only                                                                  U Disputed
      U Debtor 2 only
      U Debtor 1 and Debtor 2 only                                                      Type of NONPRIORITY unsecured claim:
      El At least one of the debtors and another
                                                                                        U Student loans
      U Check if this claim is for a community debt                                     El Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
      Is the claim subject to offset?
                                                                                        U Debts to pension or profit-sharing plans, and other similar debts
      El No
                                                                                        Er Other. Specify unsecured debt
      U Yes



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     page    of
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Debtor 1        Lenora                                                      Hartsfuiekd                   Case number   it known)   21-52551-sms
                  First Name        Middle Name      Last Name


                Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.


4.4                                                                                                                                   0   0   0
                                                                                      Last 4 digits of account number 0                                        $ 4,000.00
      Capital One/Neman Marcus
      Nonpriodty Creditors Name
                                                                                      When was the debt incurred?              01/20/2008
      PO      Box 30253 N. Louise Avenue
      Number           Street
                                                                                      As of the date you file, the claim is: Check all that apply.
      Sioux Falls                                  SD             57107
      City                                        State          ZIP Code             O    Contingent
                                                                                      •    Unliquidated
      Who incurred the debt? Check one.                                               O    Disputed
      0      Debtor 1 only
      O Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                    •    Student loans
      O At least one of the debtors and another                                       O    Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      O Check if this claim Is for a community debt
                                                                                      O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 O    Other. Specify    unsecured debt
      kr No
      O Yes



4.5
                                                                                      Last 4 digits of account number 0               0   0   0                $ 2,500.00
      First Premier Bank
      Nonpriority Creditor's Name
                                                                                      When was the debt incurred?
      3820 N Louise Avenue
      Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
      Sioux Falls                                  SD             57107
      City                                         State         ZIP Code             10 Contingent
                                                                                      •    Unliquidated
      Who incurred the debt? Check one.                                               CI   Disputed
      hir Debtor 1 only
      CI Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                    O    Student loans
      0 At least one of the debtors and another                                       O    Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                      O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 O    Other. Specify    unsecured debt
      Er No
      O Yes


4.6                                                                                                                                                            $ 1,500.00
                                                                                      Last 4 digits of account number 0               0   0   0
      Capital One/Lord and Taylor
      Nonpriority Creditors Name
                                                                                      When was the debt Incurred?
      PO      Box 30253
      Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
      Salt Lake City                               UT             84130
      City                                         State         ZIP Code             10 Contingent
                                                                                      •    Unliquidated
      Who incurred the debt? Check one.                                               O    Disputed
      0      Debtor 1 only
      O Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                    CI Student loans
      0 At least one of the debtors and another                                       O    Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                      O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 O    Other. Specify    unsecured debt
      El No
      0 Yes




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 Debtor 1          Lenora                                   Hartafield                                Case number (if known)   21-52551-sms
                    First Name       Middle Name       Last Name

                   List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      Li No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      2 Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is, Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim
       Comenity Bank New York Company                                          Last 4 digits of account number 0               0       0   0
       Nonprionty Creditor's Name
                                                                                                                                                                2,000.00
                                                                               When was the debt incurred?             01/20/2009
       PO Box 182789
       Number            Street
       Columbus                                     OH              43218
       City                                         State          ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                               Er    Contingent
       Who incurred the debt? Check one.                                       •     Unliquidated
       El Debtor 1 only                                                        O     Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                               O     Student loans

       •      Check if this claim is for a community debt                      O     Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                         •     Debts to pension or profit-sharing plans, and other similar debts
              No                                                               g     Other. Specify   unsecured debt
       0 Yes
4.2    Comenity Capital Bank Fore                                              Last 4 digits of account number            0     0      0   0                    1,000.00
       Nonpriority Creditor's Name                                             When was the debt incurred?              01/20/2008
       PO Box 182120
       Number            Street
       Columbus                                     OH              43218      As of the date you file, the claim is: Check all that apply.
       City                                         State          ZIP Code
                                                                               •     Contingent
       Who incurred the debt? Check one.                                       •     Unliquidated

       el Debtor 1 only
                                                                               LI    Disputed

       O Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
       0 At least one of the debtors and another                               O     Student loans
                                                                               O     Obligations arising out of a separation agreement or divorce
       O Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                         I:I   Debts to pension or profit-sharing plans, and other similar debts

       El No                                                                   El' Other. Specify     unsecured Debt
       0 Yes
       Credit One Bank                                                         Last 4 digits of account number            0        0   0       0                1,000.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
       PO Box 98872
       Number            Street
       Las Vegas                                    NV              89193
                                                                               As of the date you file, the claim Is: Check all that apply.
       City                                         State          ZIP Code
                                                                               Qt Contingent
       Who incurred the debt? Check one.
                                                                               •     Unliquidated
              Debtor 1 only
                                                                               O     Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another
                                                                               •     Student loans
       O Check if this claim is for a community debt                           O     Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                               O     Debts to pension or profit-sharing plane, and other similar debts
       lir No                                                                  gi Other. Specify       unsecured Debt
       0 Yes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page     of
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                  First barns       Middle Name      Last Name



              Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



     Mission Lane Tab Bank                                                         Last 4 digits of account number 0            0   Q. 0                 $     1,000.00
     Nonpriority Creditors Name
                                                                                   When was the debt incurred?           01/20/2008
     PO Box 105286 SW #1340
     Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Atlanta                                      GA             30304
      City                                         State         ZIP Code          Er Contingent
                                                                                   •  Unliquidated
      Who Incurred the debt? Check one.                                            El Disputed
      W. Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                 U Student loans
      U At least one of the debtors and another                                    U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              Er Other. Specify     unsecured debt
      er No
      U Yes



    r-The Bank of Missouri /Ml                                                     Last 4 digits of account number             _O   _O   _O              $ 1,500.00
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?            01/20/2009
      PO Box 4499
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Beaverton                                    OR             97076
      City                                         State         ZIP Code          Er Contingent
                                                                                   • Unliquidated
      Who incurred the debt? Check one.                                            U Disputed
      Er Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                 El Student loans
      U At least one of the debtors and another                                    U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              Er Other. Specify     unsecured debt
             No
      U Yes

                                                                                                                                                         $ 1,000.00
                                                                                   Last 4 digits of account number 0            0    0   0
      Comenity Capital Bank / MYP
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?            01/20/2009
      PO Box 182120
      Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Columbus                                     OH             43218
      City                                         Stale         ZIP Code          IR Contingent
                                                                                   •  Unliquidated
      Who incurred the debt? Check one.                                            U Disputed
      El' Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                 U Student loans
      U At least one of the debtors and another                                    U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                   U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              Er Other. Specify     unsecured debt
      Er No
      U Yes




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 Debtor 1        Lenora                                     Hartsfield                                  Case number (if known)   21-52551-sms
                    First Name       Middle Name      Last Name

                List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      if Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.11 you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                        Total claim
4.1    CB Indigo                                                                                                                 0    0   0
                                                                                  Last 4 digits of account number°
                                                                                                                                                               1,500.00
       Nonpriority Creditor's Name
                                                                                  When was the debt incurred?             01/20/2009
       PO Box 4499
       Number             Street
       Beaverton                                    OR             97076
       City                                         State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                  g    Contingent
       Who incurred the debt? Check one.                                          •    Unliquidated
       14 Debtor 1 only                                                           O Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                  • Student loans
                                                                                  O Obligations arising out of a separation agreement or divorce
       O Check if this claim Is for a community debt
                                                                                    that you did not report as priority claims
       Is the claim subject to offset?                                            O Debts to pension or profit-sharing plans, and other similar debts
       el No                                                                      Er   Other. Specify    unsecured debt
       0 Yes
                                                                                  Last 4 digits of account number           0     0   0   0
       Comenity Bank/Express
       Nonprlorlty Creditor's Name                                                When was the debt incurred?             01/20/2009
       PO Box 18279
       Number             Street
                                                    OH             43218          As of the date you file, the claim Is: Check all that apply.
       Columbus
       City                                         State         ZIP Code
                                                                                  P . Contingent
       Who incurred the debt? Check one.                                          O Unliquidated
                                                                                  O Disputed
       el Debtor 1 only
       O Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
       O At least one of the debtors and another                                  U Student loans
                                                                                  O Obligations arising out of a separation agreement or divorce
       U Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                            O Debts to pension or profit-sharing plans, and other similar debts
                                                                                  g    Other. Specify    unsecured Debt
       la No
       0 Yes
       Comenity Bank/VCTRSSEC                                                     Last 4 digits of account number            0    0   0   0                    1,200.00
       Nonpriority Creditor's Name                                                                                         01/20/2009
                                                                                  When was the debt incurred?
       PO Box 182789
       Number             Street
        Columbus                                    OH             43218
                                                                                  As of the date you file, the claim is: Check all that apply.
       City                                         State         ZIP Code
                                                                                  if   Contingent
       Who incurred the debt? Check one.
                                                                                  •    Unliquidated
              Debtor 1 only                                                       O Disputed
        O Debtor 2 only
        O Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
        O At least one of the debtors and another
                                                                                  O Student loans
        U Check if this claim is for a community debt                             • Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
        Is the claim subject to offset?
                                                                                  O Debts to pension or profit-sharing plans, and other similar debts
        er No
                                                                                  ir Other. Specify      Unsecured Debt
        CI    Yes



Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 page    of
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                   First Name       Middle Name          Last Name


                Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                            Total claim



                                                                                       Last 4 digits of account number 0                 0    0   0                $ 1,300.00
     Macy's Department Store
     Nonpriority Creditors Name
                                                                                       When was the debt incurred?                01/20/2009
     PO Box 8218
     Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      MAson                                            OH              45040
     City                                              State          ZIP Code                 Contingent
                                                                                       •       Unliquidated
      Who incurred the debt? Check one.                                                CI      Disputed
             Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                     CI      Student loans
      0      At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      •      Check if this claim is for a community debt
                                                                                       O       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  g       Other. Specify     unsecured Debt
      ig No
      0      Yes




                                                                                       Last 4 digits of account number0000                                         $ 2,000.00
      Comenity Bank/Ashstwrt
      Nonpriority Creditors Name
                                                                                       When was the debt Incurred?                 01/20/2008
      PO Box 182789
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Columbus                                         OH              43218
      City                                             Slate          ZIP Code         Er      Contingent
                                                                                       •       Unliquidated
      Who incurred the debt? Check one.                                                O       Disputed
      lir Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                     U       Student loans
      0      At least one of the debtors and another                                   U       Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       O       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  El      Other. Specify     unsecured bank
      g      No
      O Yes


                                                                                                                                                                   $   1,000.00
                                                                                       Last 4 digits of account number 0                  0   0   0
      SYNCB/ JC Penny
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      PO Box 965007
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Orlando                                          FL              32896
      City                                             State          ZIP Code         g       Contingent
                                                                                       •       Unliquidated
      Who incurred the debt? Check one.                                                O       Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                     O       Student loans
      0 At least one of the debtors and another                                        CI      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                           O   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  ig Other. Specify          unsecured debt
      Er No
      CI Yes



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                      First Name     Middle Name             Last Name



Part 2:            Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                • Total claim



                                                                                            Last 4 digits of account number 0              0   0    0                 $      500.00
     Jefferson Capital System
     Nonpriority Creditor's Name
                                                                                            When was the debt Incurred?
     16 McLeland Road
     Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.
     Saint Cloud                                           MN             56303
     City                                                  State         ZIP Code           Er      Contingent
                                                                                            •       Unliquidated
     Who incurred the debt? Check one.                                                      O Disputed
      W' Debtor 1 only
      0 Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
      •        Debtor 1 and Debtor 2 only                                                   O Student loans
               At least one of the debtors and another                                      O Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                            O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Gif     Other. Specify    unsecured creditor
      Er No
      0 Yes


                                                                                            Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                            When was the debt incurred?

      Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.

      City                                                 State         ZIP Code           U Contingent
                                                                                            • Unliquidated
      Who incurred the debt? Check one.                                                     O Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                          O Student loans
        At least one of the debtors and another                                             • Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                            O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                           •   Other. Specify
          O No
          O Yes



                                                                                            Last 4 digits of account number
      Nonpriorily Creditor's Name
                                                                                            When was the debt Incurred?

      Number                Street
                                                                                            As of the date you file, the claim is: Check all that apply.

          City                                             State         ZIP Code               0   Contingent
                                                                                                • Unliquidated
          Who incurred the debt? Check one.                                                     O Disputed
          O Debtor 1 only
          O Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
          •      Debtor 1 and Debtor 2 only                                                     O Student loans
          CI     At least one of the debtors and another                                        • Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
          •      Check if this claim is for a community debt
                                                                                                • Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                       O Other. Specify
          ▪      No
          U Yes



Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                      page   of
       Case 21-52551-sms                           Doc 17             Filed 05/03/21 Entered 05/04/21 11:34:36                                                 Desc Main
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Debtor 1         Lenora                                                  Hartsfield                              Case number (if known)   21-52551-sms
                  First Name        Middle Name          Last Name

                List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    ID No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      0Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim__


k     Masseys
      Nonpnonty Creditor's Name
      PO Box 2822
                                                                                      Last 4 digits of account number 0

                                                                                      When was the debt incurred?
                                                                                                                                           0       0       0
                                                                                                                                                                           2,500.00

      Number            Street
      Monroe                                           WI            53566
      City                                             State         ZIP Code         As of the date you file, the claim is: Check all that apply.

                                                                                      0         Contingent
      Who incurred the debt? Check one.                                               •         Unliquidated
      0      Debtor 1 only                                                            CI        Disputed
      O Debtor 2 only
      O Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                  Ll Student loans
                                                                                      O         Obligations arising out of a separation agreement or divorce
      O Check if this claim is for a community debt
                                                                                                that you did not report as priority claims
      Is the claim subject to offset?                                                 O         Debts to pension or profit-sharing plans, and other similar debts
      0 No                                                                            O         Other. Specify    unsecured debt
      0 Yes
                                                                                      Last 4 digits of account number                0      0      0       0               1,500.00
4.2   Rochester Regional Health
      NonprlorIty Creditors Name                                                      When was the debt incurred?                  01/20/2009
      100 Kings Highway South
      Number            Street
      Rochester                                        NY             14617           As of the date you file, the claim is: Check all that apply.
      City                                             State         ZIP Code
                                                                                      ia Contingent
      Who incurred the debt? Check one.                                               •         Unliquidated
                                                                                      O         Disputed
      O Debtor 1 only
      O Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only
      0 At least one of the debtors and another                                       •         Student loans
                                                                                      O         Obligations arising out of a separation agreement or divorce
      U Check if this claim is for a community debt                                             that you did not report as priority claims
                                                                                      O         Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                                      M         Other. Specify    unsecured debt
      U No
      CI Yes
4.3
      Rochester Gas and Electric Corporation                                          Last 4 digits of account number                 0        0       0   0                  850.00
      Nonpriority Creditor's Name
                                                                                      When was the debt incurred?
      755 Brooks Avenue
      Number            Street
      Rochester                                         NY            14619
                                                                                      As of the date you file, the claim is: Check all that apply.
      City                                             State         ZIP Code
                                                                                          5er   Contingent
      Who incurred the debt? Check one.
                                                                                      •         Unliquidated
      M Debtor 1 only                                                                 O         Disputed
      CI Debtor 2 only
      O Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another
                                                                                          O     Student loans
      Li Check if this claim is for a community debt                                      O     Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
      Is the claim subject to offset?
                                                                                      CI        Debts to pension or profit-sharing plans, and other similar debts
      0 No                                                                                                         unsecured debt
                                                                                          •     Other. Specify
       0 Yes


Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                          page      of
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Debtor 1        Lenora                                            Hartsfield         Case number 21-52551-sms    (if known)
                  First Name        Middle Name     Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



      National Ambulance & Oxygen SE                                              Last 4 digits of account number             _O   _O   _O                $ 2,500.00
      Nonpriority Creditors Name
                                                                                  When was the debt incurred?
      PO Box 100296
      Number           Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
      Atlanta                                      GA            30384
      City                                        State         ZIP Code          Er Contingent
                                                                                  •   Unliquidated
      Who incurred the debt? Check one.                                           O   Disputed
      R . Debtor 1 only
      CI Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
      CI Debtor 1 and Debtor 2 only                                               O   Student loans
      0 At least one of the debtors and another                                   O   Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                  O   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             R . Other. Specify   unsecured debt
      Et No
      CI Yes


      Regency Park Apartments do Ram Partners, LLC                                Last 4 digits of account number 0           0    0    0                 $ 5,000.00
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?            01/20/2000
      3116 Desert Drive
      Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      East Point                                   GA            30344
      City                                        State         ZIP Code          •   Contingent
                                                                                  O   Unliquidated
      Who incurred the debt? Check one.                                           O   Disputed
      if Debtor 1 only
      •      Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                O   Student loans
      0 At least one of the debtors and another                                   O   Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                  D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             0 . Other. Specify   unsecured debt
      10 No
      O Yes


                                                                                                                                                          $ 5,000• 00
                                                                                  Last 4 digits of account number 0            0    0    0
      Regency Park Apartments do RAM Partners LLC
      Nonpriority Creditors Name
                                                                                  When was the debt incurred?            01/20/2000
      do RAM Partners LLCircle 75 Parkway NW Suite120(
      Number            Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
      Atlanta                                      GA            30339
      City                                        State         ZIP Code          O   Contingent
                                                                                  •   Unliquidated
      Who incurred the debt? Check one.                                           O   Disputed
      IR Debtor 1 only
      O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                O   Student loans
      0 At least one of the debtors and another                                   O   Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                  D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             O   Other. Specify   unsecured debt
      10 No
      0 Yes



Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page _ of
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Debtor 1               Lenora                                         Hartsfield                            Case number   it known)   21-52551-sms
                        First Name       Middle Name      Last Name


                       List All of Your NONPRIORITY Unsecured Claims

    3. Do any creditors have nonpriority unsecured claims against you?
       El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       a       Yes

    4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
H      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim

           City of East Point                                                         Last 4 digits of account number 0               0   0   0
                                                                                                                                                                        1,000.00
           Nonpriority Creditor's Name                                                                                                                       $
                                                                                      When was the debt incurred?            01/20/2000
           2791 E Point Street
           Number             Street

           East Point                                   GA              30344
           City                                        State           ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                      O Contingent
           Who incurred the debt? Check one.                                          •    Unliquidated
           0 Debtor 1 only                                                            O Disputed
           O Debtor 2 only
           D Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
           O At least one of the debtors and another                                  U Student loans
                                                                                      O Obligations arising out of a separation agreement or divorce
           U Check If this claim is for a community debt
                                                                                        that you did not report as priority claims
           Is the claim subject to offset?                                            O Debts to pension or profit-sharing plans, and other similar debts
           0      No                                                                  •    Other. Specify   unsecured debt
           O Yes

                                                                                      Last 4 digits of account number
           Nonprlorlty Creditor's Name                                                When was the debt incurred?


           Number             Street
                                                                                      As of the date you file, the claim is: Check all that apply.
           City                                         State          ZIP Code
                                                                                      CIContingent
           Who incurred the debt? Check one.                                          • Unliquidated
                                                                                      O Disputed
           CI Debtor 1 only
           CI Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
           O Debtor 1 and Debtor 2 only
           0 At least one of the debtors and another                                  U Student loans
                                                                                      O Obligations arising out of a separation agreement or divorce
           O Check if this claim is for a community debt                                that you did not report as priority claims
           Is the claim subject to offset?                                            • Debts to pension or profit-sharing plans, and other similar debts
                                                                                      O Other. Specify
           U No
           O Yes

4.3    r
                                                                                      Last 4 digits of account number
           Nonpriority Creditor's Name
                                                                                      When was the debt incurred?

           Number             Street

                                                                                      As of the date you file, the claim is: Check all that apply.
           City                                         State          ZIP Code

                                                                                      O Contingent
           Who incurred the debt? Check one.
                                                                                      •    Unliquidated
           O Debtor 1 only                                                            O Disputed
           O Debtor 2 only
           CI Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
           0 At least one of the debtors and another
                                                                                      O Student loans
           D      Check if this claim is for a community debt                         O Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
           Is the claim subject to offset?
                                                                                      CI Debts to pension or profit-sharing plans, and other similar debts
           LI No
                                                                                      CI   Other. Specify
           0 Yes


Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page    of
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Debtor 1       Lenora                                                       Hartsfuiekd               Case number yrknown)21-52551-sms
               First Name      Middle Name           Last Name


              List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                                Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                  IJ Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                Last 4 digits of account number

                                             State               ZIP Code

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                                 Line       of (Check one): ID Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  0    Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number —       —   —    —
      City                                   State               ZIP Code


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                   0   Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number —       —   —    —
                                             State               ZIP Code

                                                                                 On which entry In Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                  ID Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
      City                                   State               ZIP Code


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                   U Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
      City                                   State               ZIP Code

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                                 Line        of (Check one): Li Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                  Li Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number —       —    —   —
      City                                   State               ZIP Code


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                 Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                              0    Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims


      City                                   State               ZIP Code
                                                                                 Last 4 digits of account number —       —    —   —



Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page        of
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Debtor 1   Lenora                                                      Hartsfield           Case number (if known)   21-52551-sms
               First Name     Middle Name         Lae Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                 6a. Domestic support obligations                               6a.                             0.00
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                 6b.                      2,000.00
                 6c. Claims for death or personal injury while you were
                     intoxicated                                                6c.                             0.00

                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                    6d. + $                         0.00


                 6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                         2,000.00




                 6f. Student loans                                              6f.                             0.00
Total claims
from Part 2
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                     claims                                                     6g.     $                       0.00
                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                              6h.                             0.00


                 61. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                    6i.   + $               53,400.00


                 6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                        53,400.00




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 page   of
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 Fill in this information to identify your case:


 Debtor               Lenora                                             Hartsfield
                      First Name           Middle Name                  Last Name

 Debtor 2
 (Spouse If filing)   First Name           Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number          21-52551-sms
  (If known)                                                                                                                               Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       0 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form In the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease Is for




       Name

       Number            Street

       City                            State     ZIP Code

2.2
       Name

       Number            Street

       City                            State      ZIP Code
2.3]
       Name

       Number            Street

       City                            State      ZIP Code
2.4
  ^
       Name

       Number            Street

       City                            State      ZIP Code
2.51
       Name

       Number            Street

       City                            State      ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of
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Debtor 1       Lenora                                                       Hartsfield            Case number tirk,ww,0 21-52551-sms
                  First Name     Middle Name              Last Name




                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                             What the contract or lease is for


 22

        Name

        Number         Street


        City                                   State     ZIP Code



        Name


        Number          Street


        City                                   State     ZIP Code

 2._

        Name

        Number          Street


        City                                   State     ZIP Code


 2.

        Name

        Number          Street


        City                                   State     ZIP Code




        Name

        Number          Street


        City                                   State     ZIP Code
                                                                      .--
 2j .

        Name


        Number          Street


        City                                   State      ZIP Code


 2._
        Name

        Number          Street


        City                                   State      ZIP Code


 2._

        Name

         Number         Street

        City                                   State      ZIP Code



Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                              page   of
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 Fill in this information to identify your case:

 Debtor 1            Lenora                                                              Hartsfield
                      First Name                       Middle Name                  Lad Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia                           El
 Case number 21-52551-sms
  (If known)
                                                                                                                                                       U Check if this is an
                                                                                                                                                         amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       •     No
       CI    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       El No. Go to line 3.
       O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             U No
             O Yes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.



                    Name of your spouse, former spouse, or legal equivalent



                    Number            Street



                    City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                     Check all schedules that apply:

 3.1
                                                                                                                      U    Schedule D, line
           Name
                                                                                                                      ID Schedule E/F, line
            Number           Street                                                                                   0    Schedule G, line

            City                                                        State                    ZIP Code

 3.2
            Name
                                                                                                                      CI   Schedule D, line
                                                                                                                      0    Schedule E/F, line
            Number           Street                                                                                   0    Schedule G, line

            City                                                         State                   ZIP Code

 3.3
                                                                                                                      0    Schedule D, line
            Name
                                                                                                                      0    Schedule E/F, line
            Number           Street                                                                                   0    Schedule G, line

            City_                                                       State                     ZIP Code

   —

Official Form 106H                                                               Schedule H: Your Codebtors                                                 page 1 of
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Debtor 1         Lenora                                                 Hartsfield            Case number (If known) 21-52551-sms
                  First Name       Middle Name     Last Name



                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                    Check all schedules that apply:
 3._

                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street                                                                      0    Schedule G, line


        City                                            State                   ZIP Code

 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street
                                                                                                     0    Schedule G, line


        piy                                             State                   ZIP Code

 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street
                                                                                                     0    Schedule G, line


        City                                            State                    ZIP Code


 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     CI   Schedule E/F, line

        Number           Street
                                                                                                     0    Schedule G, line


        City_                                            State                   ZIP Code

 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street
                                                                                                     CI   Schedule G, line


                                                         State                   ZIP Code

 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street
                                                                                                     0    Schedule G, line


        City                                             State                   ZIP Code

 3._
                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

        Number           Street                                                                      0    Schedule G, line


        City                                             State                   ZIP Code


                                                                                                     0    Schedule D, line
        Name
                                                                                                     0    Schedule E/F, line

         Number           Street
                                                                                                     0    Schedule G, line


        Clt                                              State                   ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                              page   of
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 Fill in this information to identify your case:


 Debtor 1          Lenora                                                   Hartsfield
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number          21-52551-sms                                                                      Check if this is:
 (If known)
                                                                                                        U An amended filing
                                                                                                        LI A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                             MM / DD/ YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, Include information about your spouse.
If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                               Debtor 1                                    Debtor 2 or non filing spouse

    If you have more than one job,
    attach a separate page with
                                         Employment status                 1:1 Employed                                   U Employed
    information about additional
    employers.                                                             U Not employed                                 U Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                       CNA
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name                  Med Temps Rochester

                                         Employer's address               800 Oak Ridge Turnpike
                                                                           Number Street                                Number   Street
                                                                          Ste A900



                                                                          Oak Ridge              TN      37830
                                                                           City             State   ZIP Code            City                 State ZIP Code

                                         How long employed there?              1    yr                                    1 yr



an                  Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                         non-filing spouse

  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.           668.75

  3. Estimate and list monthly overtime pay.                                                3. + $             0.00     + $


  4. Calculate gross income. Add line 2 + line 3.                                           4.      $    668.75



Official Form 1061                                                  Schedule I: Your Income                                                        page 1
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Debtor 1    Lenora                                                 Hartsfield                Case number (if known)   21-52551-sms
               Fast Name    Middle Name        Last Name



                                                                                            For Debtor 1              For Debtor 2 or
                                                                                                                      non-filinq spouse

   Copy line 4 here                                                              4   4.             668.75

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.    $         61.47             $
     5b. Mandatory contributions for retirement plans                                5b.    $          0.00             $
     5c. Voluntary contributions for retirement plans                                5c.    $          0.00             $
     5d. Required repayments of retirement fund loans                                5d.    $          0.00             $
     5e. Insurance                                                                   5e.    $          0.00             $
     5f. Domestic support obligations                                                5f.    $          0.00             $
                                                                                     5g.    $          0.00             $
     5g. Union dues
     5h. Other deductions. Specify:                                                  5h. -1-$           0.00          + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.     $         61.47             $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.     $       607.28

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                              0.00            $
         monthly net income.                                                         8a.
     8b. Interest and dividends                                                      8b.    $           0.00             $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                          0.00            $
         settlement, and property settlement.                                  8c.

     8d. Unemployment compensation                                                   8d.                0.00
     8e. Social Security                                                             8e.                0.00            $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                   8f.                 0.00            $

     8g. Pension or retirement income                                                8g.                0.00
     8h. Other monthly income. Specify:                                               8h. + $           0.00          +$

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.            9.                0.00

 10.Calculate monthly income. Add line 7 + line 9.                                                  607.28                                               607.28
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

 11. State all other regular contributions to the expenses that you list in Schedule J
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                              11.   $            0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                          12.
                                                                                                                                                         607.28
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                Combined
                                                                                                                                                monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      10 No.
      ID Yes. Explain:


 Official Form 1061                                             Schedule I: Your Income                                                             page 2
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  Fill in this information to identify your case:


  Debtor 1          Lenora                                                          Hartsfield
                        First Name           Middle Name                Last Name                        Check if this is:
  Debtor 2                                                                                               U An amended filing
  (Spouse, if filing)   First Name           Middle Name                Last Name
                                                                                                         U A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Middle District of Georgia                                      expenses as of the following date:
   Case number          21-52551-sms                                                                         MM / DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                              12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    Ig No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                Li No
                0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                      No                                    Dependent's relationship to              Dependent's    Does dependent live
    Do not list Debtor 1 and                0   Yes. Fill out this information for    Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                   each dependent
                                                                                                                                              Li No
    Do not state the dependents'
    names.
                                                                                                                                              CI Yes
                                                                                                                                              O No
                                                                                                                                              O Yes
                                                                                                                                              Li No
                                                                                                                                              O Yes

                                                                                                                                              O No
                                                                                                                                              O Yes
                                                                                                                                              Li No
                                                                                                                                              O Yes

 3. Do your expenses include
                                            10 No
    expenses of people other than
    yourself and your dependents?           0 Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included It on Schedule!: Your Income (Official Form 1061.)                                             Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                             1,200.00
     any rent for the ground or lot.                                                                                     4.

     If not included in line 4:
      4a. Real estate taxes                                                                                              4a.                        0.00

      4b, Property, homeowner's, or renter's insurance                                                                   4b.                        0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.                        0.00
      4d. Homeowner's association or condominium dues                                                                    4d.                        0.00

Official Form 106J                                              Schedule J: Your Expenses                                                           page 1
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Debtor 1         Lenora                                                    Hartsfield     Case number (if known) 21-52551-sms
                 First Name    Middle Name       Last Name




                                                                                                                    Your expenses

                                                                                                                                      0.00
 5. Additional mortgage payments for your residence, such as home equity loans                              5.

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                    6a.                       0.00
      6b. Water, sewer, garbage collection                                                                  6b.                       0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                       0.00
      6d. Other. Specify:     phone                                                                         6d.                     100.00
 7. Food and housekeeping supplies                                                                          7.                      200.00

 8. Childcare and children's education costs                                                                8.                        0.00
 9. Clothing, laundry, and dry cleaning                                                                     9.                       50.00
10. Personal care products and services                                                                     10.                      50.00
11. Medical and dental expenses                                                                             11.                       0.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                    200.00
    Do not include car payments.                                                                            12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                      50.00
14. Charitable contributions and religious donations                                                        14.                     100.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.                      0.00
      15b. Health insurance                                                                                 15b.                      0.00
      15c. Vehicle insurance                                                                                15c.                      0.00
      15d. Other insurance. Specify:                                                                        15d.                      0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                            16.
                                                                                                                                      0.00
      Specify:

17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.   $                400.00

      17b. Car payments for Vehicle 2                                                                       17b.   $                350.00
                                                                                                            17c.   $                  0.00
      17c. Other. Specify:

      17d. Other. Specify:                                                                                  17d.                      0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                         18.   $                  0.00

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                               19.   $                  0.00

20. Other real property expenses not included In lines 4 or 5 of this form or on Schedule!: Your Income.
                                                                                                            20a.   $                  0.00
      20a. Mortgages on other property

      20b. Real estate taxes                                                                                20b.                      0.00
      20c. Property, homeowner's, or renter's insurance                                                     20c.                      0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.                      0.00
      20e. Homeowner's association or condominium dues                                                      20e.                      0.00


Official Form 106J                                            Schedule J: Your Expenses                                               page 2
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Debtor 1      Lenora                                                    Hartsfield         Case number tiknown) 21-52551-sms
               First Name    Middle Name       Last Name




21. Other. Specify:                                                                                         21.   +$                 0.00


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                          22a.                   2,700.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.                       0.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   2,700.00


23. Calculate your monthly net income.
                                                                                                                                   607.28
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                    23a.

   23b.    Copy your monthly expenses from line 22c above.                                                 23b.    $             2,700.00

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                 -2,092.72
           The result is your monthly net income.                                                          23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   Ef   No.
   0 Yes.     r   Explain here:




Official Form 106J                                          Schedule J: Your Expenses                                                 page 3
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Fill in this information to identify your case:

Debtor 1              Lenora                                             Hartsfield
                 '    First Name              Middle Name              Last Name

Debtor 2
(Spouse, If filIng)   First Name              Middle Name              Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number           21-52551-sms                                                                                                            Check if this is an
(If known)                                                                                                                                    amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  10 you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct Information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

  =                    List Your Creditors Who Have Secured Claims

  t 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
          Information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor's
                             Capital One Bank                                      0 Surrender the property.                          0 No
          name:
                                                                                   0 Retain the property and redeem it.               0 Yes
          Description of           Acura TL
          property                                                                 0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   EI Retain the property and [explain]:


          Creditor's
          name:              ESL ECU
                                                                                   CI Surrender the property.                         0 No
                                                                                   U Retain the property and redeem it.               0 Yes
          Description of           BMW                                             0 Retain the property and enter into a
          property
          securing debt:                                                              Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:



          Creditor's                                                               U Surrender the property.                          U No
          name:
                                                                                   0 Retain the property and redeem it.               0 Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               CI Surrender the property.                         U No
          name:
             _
                                                                                   0 Retain the property and redeem it.               0 Yes
          Description of
          property                                                                 0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
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Debtor 1       Lenora                                                Hartsfield                 Case number (If known)21-52551-sms
               First Name         Middle Nome      Last Name




Irin           List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill In the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume It. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                               Will the lease be assumed?

      Lessor's name:                                                                                                 C3 No
                                                                                                                     U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                 CI No
                                                                                                                     0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                 U No

      Description of leased                                                                                             Yes
      property:


      Lessor's name:                                                                                                 U No
                                                                                                                     0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                 D No
                                                                                                                     1:1 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                 U No
                                                                                                                     U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                 U No
                                                                                                                     CI Yes
      Description of leased
      property:



  Part 3:       Sign Below



    Under penalty of perjury, I declare that I have indic1ated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired ase.




      Signature of Debtor 1                                          Signature of Debtor 2

      Date 1)Y                     1\                                Date
           mm /     D   /     Y                                             MM/   DD /   YYYY




Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                        page 2
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  Fill in this information to identify your case:


  Debtor 1          Lenora                                                      Hartsfield
                        First Name          Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)   First Name          Middle Name                  Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number 21-52551-sms                                                                                                           CI Check if this is an
                        Of known)                                                                                                         amended filing



 Official Form 106Sum
 Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. Fill out all of your schedules first; then complete the Information on this form. If you are filing amended schedules after you file
 your original forms, you must fill out a new Summary and check the box at the top of this page.


rifin            Summarize Your Assets

                                                                                                                                  Your assets
                                                                                                                                  Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                      0.00
    1a. Copy line 55, Total real estate, from Schedule A/B


     lb. Copy line 62, Total personal property, from Schedule A/B                                                                                  50.00

     lc, Copy line 63, Total of all property on Schedule A/B                                                                                       50.00


 Part 2:         Summarize Your Liabilities


                                                                                                                                   Your liabilities
                                                                                                                                   Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                              55,000.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                          $        2,000.00
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

      3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F                                        53,400.00
                                                                                                                                   +$

                                                                                                         Your total liabilities             110,400.00


  Part 3:         Summarize Your Income and Expenses


 4. Schedule!: Your Income (Official Form 1061)
                                                                                                                                                  607.28
    Copy your combined monthly income from line 12 of Schedule I

 6. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                               2,700.00
    Copy your monthly expenses from line 22c of Schedule J




 Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical information                     page 1 of 2
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  Debtor 1      Lenora                                                   Hartsfield            Case number (If known) 21-52551-sms
                 First Name   Middle Name         Last Name




   Part 4:      Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      ZI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


   7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      1:1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      8,025.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




        From Part 4 on Schedule E/F, copy the following:


      9a.Domestic support obligations (Copy line 6a.)
                                                                                                                          0.00


      9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                      2,000.00

      9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                          0.00


      9d.Student loans. (Copy line 6f.)
                                                                                                                          0.00

      9e.Obligations arising out of a separation agreement or divorce that you did not report as                          0.00
         priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                              0.00


      9g.Total. Add lines 9a through 9f.                                                                            2,000.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                            page 2 of 2
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Fill in this information to identify your case:


Debtor 1          Lenora                                                         Hartsfield
                    First Name                           Middle Name          Last Name

Debtor 2
(Spouse, if filing) First Name                           Middle Name          Last Name

United States Bankruptcy Court for the: Northern District of Georgia

Case number         21-52551-sms
(If known)
                                                                                                                                                                Check if this is an
                                                                                                                                                                amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                      12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
        0    Yes. Name of person                                                                          Attach Bankruptcy Petition Prepares Notice, Declaration, and
                                                                                                          Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         Signature of Debtor 1                   J                                Signature of Debtor 2


         Date DS/03/A                   )   *)       t                            Date
                MM      DD       I   YYYY                                                 Mm/ DD / YYYY




  Official Form 106Deo                                                 Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:                                                           Check one box only as directed in this form and      iii

                                                                                                           Form 122A-1Supp:
 Debtor 1          Lenora                                                             Hartsfielc
                    First Name                Middle Name               Last Name
                                                                                                          RI 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, If filing) First Name               Middle Name               Last Name                         U 2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                      El                  Means Test Calculation (Official Form 122A-2).

 Case number 21-52551-sms                                                                                 O 3. The Means Test does not apply now because of
 (If known)                                                                                                    qualified military service but it could apply later.


                                                                                                           O Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:          Calculate Your Current Monthly Income

    1. What is your marital and filing status? Check one only.
        U Not married. Fill out Column A, lines 2-11.
        U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        U Married and your spouse is NOT filing with you. You and your spouse are:
              U      Living In the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              ia     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the Income for all 6 months and divide the total by 6.
        FIll in the result. Do not Include any income amount more than once. For example, if both spouses own the same rental property, put the
        Income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A          Column B
                                                                                                               Debtor 1          Debtor 2 or
                                                                                                                                 non-filing spouse

    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
         (before all payroll deductions).                                                                      $    668.75         $

    3. Alimony and maintenance payments. Do not include payments from a spouse if                                         0.00
         Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not                    $          0.00
         filled in. Do not Include payments you listed on line 3.
    5. Net income from operating a business, profession,                Debtor 1           Debtor 2
       or farm
         Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                      —$                 —$
                                                                                                          y
         Net monthly income from a business, profession, or farm           $        0.00    $         Cop
                                                                                                      here.    $          0.00     $

    6. Net Income from rental and other real property                    Debtor 1          Debtor 2
         Gross receipts (before all deductions)                            $                $
         Ordinary and necessary operating expenses                      —$                 —$
                                                                                                      Copy
         Net monthly income from rental or other real property             $        0.00    $          here4   $          0.00
    7. Interest, dividends, and royalties                                                                                 0.00


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Debtor 1        Lenora                                                                        Case number (if knoWn)   21-52551-sms
                First Name    Middle Name        Lest Name



                                                                                                  Column A                 Column B
                                                                                                  Debtor 1                 Debtor 2 or
                                                                                                                           non-filing spouse

   8, Unemployment compensation                                                                                 0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:             40
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
                                                                                                                0.00
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniformed
       services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                0.00         $
                                                                                                                0.00         $
           Total amounts from separate pages, if any.                                             +$            0.00       +$

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                            $      668.75                                   $     668.75
                                                                                                                                                     Total current
                                                                                                                                                     monthly Income
   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.                                                       Copy line 11 here+    I   $        668.75
                Multiply by 12 (the number of months in a year).                                                                                 x 12
       12b. The result is your annual Income for this part of the form.                                                               12b.       $ 8 025 00

   13. Calculate the median family Income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                         13.        $ 53,105.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form, This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.ki Line 12b is less than or equal to line 13, On the top of page 1, check box 1, There is no presumption of abuse.
              Go to Part 3. Do NOT fill out or file Official Form 122A-2



         0
       14b.        Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.




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Debtor 1    Lenora
             First Name      Middle Name
                                              tk Last Name
                                                                 eA                             Case number of known)   21-52551-sms


               Sign Below

             By signirhere, I declare under p nety of "erjury that the informatiqrvon this statement and in any attachments is true and correct.
                                                                            ..-'
              X
                   Signature of Debtor                                                         Signature of Debtor 2

                  Date                                                                         Date
                                                                                                      MM DD      /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




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